                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

  UNITED STATES OF AMERICA                              )
                                                        )
  v.                                                    )       NO. 3:11-00194
                                                        )       JUDGE CAMPBELL
  STERLING RIVERS, et al.                               )

                                            ORDER

         Several Defendants have filed Motions to Quash Subpoenas for the trial of Sterling

  Rivers on August 27, 2013. The Court previously set August 15, 2013 at 9:00 a.m. to hear

  any such motions. The Court also directed counsel for those Defendants who filed Motions

  to Quash to take steps to secure the presence of their clients at the August 15, 2013 hearing.

         It has come to the attention of the Court that the Marshal is unable to produce certain

  Defendants on August 15, 2013. Therefore, the Court hereby clarifies the prior orders and

  continues the hearing to accommodate transportation issues.

         First, the Court is not requiring the attendance of the Defendants who have filed

  Motions to Quash. To the extent they have a right to be present, they may waive their

  attendance. No party to the trial has requested the presence of such Defendants, who have

  pled guilty or have been found guilty by a jury, at the hearing on the Motions to Quash.

         Second, due to the transportation issues, the Court continues the hearing on the

  Motions to Quash until August 22, 2013, at 1:00 p.m. By August 15, 2013, counsel for the

  Defendants who have filed Motions to Quash shall file proposed Writs of Habeas Corpus Ad

  Testificandum, or proposed Orders to Produce, if they want their clients present at the

  hearing on August 22, 2013. To the extent counsel has filed a proposed Writ or Order for

  August 15, 2013, a new proposed Writ or Order must be filed for August 22, 2013. If no

  proposed Writ or Order is filed, a Defendant will not be transported. Any Defendant




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  transported for the August 22, 2013 hearing should be transported and housed separately

  from Defendant Rivers.

         Defendant Neal’s Petition (Docket No. 1485) is moot in light of this Order.

         It is so ORDERED.


                                              ____________________________________
                                              TODD J. CAMPBELL
                                              UNITED STATES DISTRICT JUDGE




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